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                              ROXIE WALLACE


          CONFIDENTIAL
              IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                       NORTHERN DIVISION

   ANGELA RUSSELL, AS ADMINISTRATRIX
   OF THE ESTATE OF JEREMY T. RUSSELL
   AND ON BEHALF OF THE WRONGFUL DEATH
   BENEFICIARIES OF JEREMY T. RUSSELL                           PLAINTIFF

   VS.                    CASE NO. 3:22-cv-294-HTW-LGI
   MANAGEMENT & TRAINING CORPORATION;
   MICHAEL MCCLINTON; ASHLEY RAY;
   MARCUS ROBINSON; ROXIE WALLACE;
   JACOB VIGLIANTE; JOHN AND JANE DOE
   CORRECTIONAL OFFICERS;
   VITALCORE HEALTH STRATEGIES, LLC;
   EVELYN DUNN; STACEY KITCHENS;
   WILLIAM BRAZIER; and
   JOHN AND JANE DOE MEDICAL PROVIDERS        DEFENDANTS

                  DEPOSITION OF ROXIE WALLACE
             taken on Wednesday, January 11, 2023,
             commencing at approximately 1:50 P.M.
           at East Mississippi Correctional Facility
                     10641 Highway 80 West
                     Meridian, Mississippi

                       *****CONFIDENTIAL*****



   REPORTED BY:       CYNTHIA HARRIS, RPR, CCR #1828
                        SOUTHERN STENO REPORTERS
                         3541 Highway 13 South
                            Morton, MS 39117
                              601-507-0849
                           cynthiaharr@att.net


                      SOUTHERN STENO REPORTERS
                            601-507-0849
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                                   ROXIE WALLACE



 1             CONFIDENTIAL          APPEARANCES
                                                                          Page 2


 2
 3      GRAFTON E. BRAGG, ESQ.
        grafton@graftonbragglaw.com
 4      BRAGGLAW, PLLC
        1060 East County Line Road, Suite 3A-120
 5      Ridgeland MS 39157
        COUNSEL FOR PLAINTIFF
 6
 7
 8      R. JARRAD GARNER, ESQ.
        jarrad.garner@arlaw.com
 9      RAY A. YOUNG, JR., ESQ. (VIA ZOOM)
        ADAMS AND REESE, LLP
10      300 Renaissance
        1018 Highland Colony Parkway, Suite 800
11      Ridgeland, MS 39157
        COUNSEL FOR MANAGEMENT & TRAINING CORPORATION,
12      MICHAEL MCCLINTON, ASHLEY RAY, AND MARCUS ROBINSON
13
14
15      MICHAEL D. CHASE, ESQ. (VIA ZOOM)
        mchase@mitchellmcnutt.com
16      MITCHELL, MCNUTT & SAMS
        105 South Front Street
17      Tupelo, MS 38804
        COUNSEL FOR VITALCORE HEALTH STRATEGIES, LLC;
18      EVELYN DUNN; STACEY KITCHENS; AND WILLIAM BRAZIER
19
20
21      ALSO APPEARING VIA ZOOM:           JAMISON WILKINSON
22
23
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 1           A.CONFIDENTIAL
                    Yeah, McClinton --
                                                                        Page 14


 2           Q.     So let's go back to the beginning.               You said
 3      you did check on him at some point; is that right?
 4      You checked on Jeremy?
 5           A.     Yeah, I checked on him.
 6           Q.     And he seemed fine?
 7           A.     Everybody seemed fine.
 8           Q.     Did he say anything to you?
 9           A.     Excuse me?
10           Q.     Do you recall him saying anything to you?
11           A.     I don't remember at this time.
12           Q.     Do you remember about what time that was?
13           A.     No, I do not.
14           Q.     Do you remember what time you were called to
15      go on transport?
16           A.     No, sir.
17           Q.     Okay.    Why were you called to go on transport?
18           A.     Shift commander said she didn't have anybody,
19      so she was sending Sergeant Robinson over there to
20      relieve me to go on transport.
21           Q.     Shift commander was Ashley Ray?
22           A.     What her name?      Angela Ray or whatever --
23           Q.     It was Lieutenant Ray.
24           A.     Yeah, Angela Ray, I believe.
25           Q.     I believe it was Ashley Ray, but Ray.               We can


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        was going to have to speak with you today.
                                                                        Page 19


 2                  MR. GARNER:     That part's fine.
 3      BY MR. BRAGG:
 4           Q.     Did you ever have a conversation with Sergeant
 5      Robinson about what happened?
 6           A.     Well, me and Sergeant Robinson -- like I said,
 7      Sergeant Robinson -- I really -- like I said, once I
 8      left, I don't know what happened after Sergeant
 9      Robinson came over there.          Only thing I know, I was
10      gone on transport.
11           Q.     Was it your understanding that Sergeant
12      Robinson was coming to take your posting?
13           A.     I waited until he got there before I leave.
14      Because I had called -- told McClinton that Captain
15      Ray wanted me to go on transport, and I'm not fixing
16      to leave out of here until I'm properly relieved -
17      until somebody get in there.          I waited until he got in
18      there.
19           Q.     Because it would have been wrong to leave camp
20      support unmanned?
21           A.     Right, that's it.
22           Q.     And at that time, before Sergeant Robinson got
23      there, you were the only person there in camp support?
24           A.     Yeah, I was on the post.
25           Q.     And there's really supposed to be two people


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